
*995534 U. S. 867;
537 U. S. 1232;
537 U. S. 1104;
537 U. S. 1106;
537 U. S. 1190;
537 U. S. 1190;
537 U. S. 1192;
537 U. S. 1192;
537 U. S. 1193;
537 U. S. 1194;
537 U. S. 1231;
537 U. S. 898;
537 U. S. 1116;
537 U. S. 1234;
537 U. S. 1195;
537 U. S. 1196;
537 U. S. 1143;
537 U. S. 1202;
537 U. S. 1204;
537 U. S. 1205;
537 U. S. 1205;
537 U. S. 1207;
537 U. S. 1209;
537 U. S. 1158;
537 U. S. 1209;
537 U. S. 1211;
*996No. 02-8212.
No. 02-8257.
No. 02-8280.
No. 02-8307.
No. 02-8359.
No. 02-8485.
No. 02-8509.
No. 02-8547.
537 U. S. 1235;
537 U. S. 1236;
537 U. S. 1237;
ante, p. 910;
537 U. S. 1218;
537 U. S. 1221;
537 U. S. 1222; and
537 U. S. 1223. Petitions for rehearing denied.
